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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
SOUTHWESTERN DIVISION

 

Abdul Aleem s/o MM Ibrahim, Jamilah Binte
Abdullah, Pok Siok Kee, Eng Ooi Hieng, Swee
Hang Danny Tan, Tong Lay Yeen Giovanna,
Hooi Hian Lee, Jaryl Tan Hock Seng, Roger
Teo Kok Wei, Teo Khim Ho, Man Hong Lee,
Gatewoods Investment PTE. LTD.,
Panircelvan S/O Kaliannan, Thong Juay Koh,
Siew Geok Tong, Sze Seng Tan, Tan Chin
Hiang, Tan Sweet Keong, and Marcus Jan Tan
Guan Xing, individually and on behalf of
themselves and all others similarly situated,

Plaintiffs,
Vs.

PEARCE & DURICK, and JONATHAN P.
SANSTEAD,

Defendants

Case No. 1:15-cv-00085

 

DOMINIC WRIGHT, MARTIN LEESE,
ANDREW CHITTENDEN, WHITE ROSE
PROPERTIES, LLC, STEPHEN ROYALL,
STEPHEN ROYALL AND MARIA
THOMSON S.M.S.F., LLC, PETER
MCRAE, MCRAE FAMILY HOLDINGS,
INC., MARTIN ABSIL, MIN-WEI PETER
LIU,

ADRIEN VINCIGUERRA, GAEL
VINCIGUERRA, JAMES CAMPION,
PRABAHARAN SUBRAMANIAM,
ADRIAN SENG YEE PONG, TREVOR
LOWMAN and ANNABEL LOWMAN, on
behalf of themselves and all others similarly
situated,

Plaintiffs,
VS.

PEARCE & DURICK,

Defendant.

 

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DECLARATION OF J. BARTON GOPLERUD
IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
FOR APPOINTMENT OF INTERIM LEAD COUNSEL

J. BARTON GOPLERUD declares as follows pursuant to 17 U.S.C. §1746:

1. Tam a shareholder of the firm of Hudson, Mallaney, Shindler & Anderson,
P.C.and am one of the attorneys for Plaintiffs in the above-captioned matters. I am familiar with
the proceedings in this case. I respectfully submit this Declaration in support of Plaintiffs’
Unopposed Motion for Appointment of Interim Lead Counsel (in the proposed form submitted
herewith).

Ds Annexed hereto as Exh. 1 is a true copy of the firm biography of Peiffer Rosca
Wolf Abdullah Carr & Kane, A Professional Law Corporation.

3. Annexed hereto as Exh. 2 is a true copy of the firm biography of Hudson,
Mallaney, Shindler & Anderson, P.C.

4, Annexed hereto as Exh. 3 is a true copy of the firm biography of Law Office of
Christopher J. Gray, P.C.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on thezl’day of August, 2015

sR, (7

€ BARTON GOPLERUD
